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                                   STATEMENT OF FACTS

        Your affiant, Clarke Burns, is a Special Agent with the Federal Bureau of Investigation
(FBI), currently assigned to the Washington Field Office. In my duties as a Special Agent, I
investigate domestic terrorism violations and other threats of violent crime. Currently, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about July 11, 2021, a confidential human source identified BRANDON PRENZLIN
as an individual shown on publicly available video inside the U.S. Capitol building on January 6,
2021. Screen captures of that video are shown below; PRENZLIN is highlighted by yellow circles:




       Your affiant obtained PRENZLIN’s driver’s license photo and images posted by
PRENZLIN on social media to confirm PRENZLIN was a positive match for the individual shown
above exiting the Capitol. The images of the individual in the above screen captures is consistent
with PRENZLIN’s driver’s license photo.
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       Below is a still from a video posted to a Twitter account identified by the handle
@PrenzlinBrandon on March 11, 2021. In the video, PRENZLIN states “…my name is Brandon,
and I’m a grassroots coordinator with FreedomWorks…”




        Checks indicated PRENZLIN worked for FreedomWorks, and his photograph on the
FreedomWorks website (screen capture below) appeared to match images of PRENZLIN seen at
and in the Capitol on January 6, 2021.
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      Your affiant has reviewed Capitol CCTV and Metropolitan Police Department (MPD)
body-worn camera (BWC) footage and identified images of PRENZLIN inside the Capitol, as
shown below:




                                     Capitol CCTV




                                     Capitol CCTV
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                          MPD BWC




                          MPD BWC
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                                          MPD BWC

        A review of Capitol CCTV footage indicated PRENZLIN entered the U.S. Capitol building
for 3 minutes and 35 seconds. PRENZLIN entered at 14:51:05 EST. PRENZLIN exited at 14:54:40
EST. He entered through the second floor doors on the southeast corner of the Capitol. According
to U.S. Capitol Police, these doors are known as the Upper House Door.

        A review of a video initially posted publicly indicated that PRENZLIN was present just
outside the Capitol building as a rioter with a gunshot wound was loaded into an ambulance by
Capitol Police officers. PRENZLIN exited the Capitol with a number of individuals known to your
affiant from CCTV footage to have been present in the Speaker’s Lobby when the rioter was shot.
However, based upon a review of CCTV and BWC footage, PRENZLIN likely did not reach the
Speaker’s Lobby.

       In CCTV footage, PRENZLIN is seen wearing distinctive navy-blue shoes with dark tan
thick gum soles inside the Capitol.




        A Twitter account associated with an identified colleague of PRENZLIN includes a post,
dated June 19, 2021, with a photo (shown below) in which PRENZLIN appears to be wearing
these same blue shoes. PRENZLIN is not tagged in the post, but the colleague’s Twitter account
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and PRENZLIN’s Twitter account appear to frequently reference each other in tweets. Both are
FreedomWorks employees.




       Further, FBI conducted physical surveillance of PRENZLIN at Washington Reagan
National Airport on June 20, 2021. PRENZLIN appeared to be wearing the same blue shoes.
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        PRENZLIN’s identity on this flight was corroborated by flight manifest information. On
July 26, 2021, a federal law enforcement officer on PRENZLIN’s July 20, 2021 flight was
provided photographs of PRENZLIN inside and just outside of the Capitol. The officer stated that
the individual in these photos looked “exactly like” the individual known to be PRENZLIN from
airline manifest information, including seat number.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
BRANDON PRENZLIN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that BRANDON PRENZLIN
violated 40 U.S.C. § 5104(e)(2), (D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Special Agent Clarke Burns
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 17th day of September 2021.                            Digitally signed by G.
                                                                      Michael Harvey
                                                                      Date: 2021.09.17
                                                     ___________________________________
                                                                      08:50:29 -04'00'
                                                     G. MICHAEL HARVEY
                                                     UNITED STATES MAGISTRATE JUDGE
